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          Case:3:20-cv-50111
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Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 2 of 9 PageID #:2
                                                                       #:92
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 3 of 9 PageID #:3
                                                                       #:93
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 4 of 9 PageID #:4
                                                                       #:94
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 5 of 9 PageID #:5
                                                                       #:95
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 6 of 9 PageID #:6
                                                                       #:96
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 7 of 9 PageID #:7
                                                                       #:97
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
                                           05/27/20 Page 8 of 9 PageID #:8
                                                                       #:98
Case:
 Case:3:20-cv-50111
       3:20-cv-50111Document
                     Document#:#:18
                                  1 Filed: 03/19/20
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                                                                       #:99
